Case 4:18-cv-00436 Document 52 Filed on 07/24/19 in TXSD Page 1 of 1

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Via: E-File and Regular Mail
Magistrate Judge Nancy K. Johnson
United States District Court
Southern District of Texas

515 Rusk Street

7" Floor, Room 7019

Houston, Texas 77002

RE: Paul R. F. Schumacher v. Capital Advance Solutions, LLC, Charles Betta
and Dan Logan
Case Number: 4:18-cv-00436
File No.: 263.92243

Dear Judge Johnson:

This office represents defendants Charles Betta and Dan Logan relative to the
above-referenced matter currently pending in the Federal District Court of Texas, Southern
District.

Your Honor granted the plaintiff additional time to conduct jurisdictional discovery.
The plaintiff recently completed discovery. On July 22, 2019 plaintiff filed a memorandum
of law in support of his jurisdictional argument. In support of the plaintiffs argument,
plaintiff relies on documents received from Channel Growth via subpoena. Plaintiff served
the defendants with Channel Growth’s response to plaintiff's subpoena on July 23, 2019.
The defendants will be filing a response to the plaintiff's memorandum and a motion to
dismiss plaintiff's complaint shortly.

Should Your Honor have any further questions or concerns, please feel free to
contact the undersigned. Thank you.

 

CDD/vr Christo ber. Devanny
Encl

CC: Paul R. F. Schumacher

G:\C Devanny\Capital Advance Solutions\Schumacher\Court\2019 07-24 Ltr to Judge re Memorandum of Law.wpd

 

 

 

 

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